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                           UNITED STATES        DISTRICT    COURT
                               DISTRICT OF MASSACHUSETTS


LILIAN       PAHOLA CALDERON      JIMENEZ
AND LUIS GORDILLO,            ET AL.,
individually and on behalf of all
others similarly situated,

        Petitioner-Plaintiffs,

                V.                                       C.A.   No.   18-10225-MLW


KEVIN McALEENAN,         ET AL.,

        Respondent-Defendants.




                                            ORDER


               WOLF,   D.J.                                                May 6,    2019

        For the reasons stated in the lobby following court on May 3,

2019,    it is hereby ORDERED that:

        1.      The parties shall, by May 8, 2019, confer and report on

their    respective positions           concerning discovery          in view of the

rulings rendered orally on May 3,                   2019.   The parties shall also

identify        the    motions    and   parts    of   motions    that   remain   to    be

decided, and propose a schedule for any requested briefing.

        2.      The hearing on the pending motions will .continue on May

16,   2019,     at 9:30 a.m.




                                                    UNITED STATES     DISTRICT JU
